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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

ROSA ZAZUETA, et al.                                     CASE NUMBER:
                                         Plaintiff(s),     5:23−cv−01825−WLH−SHK
      v.
COUNTY OF RIVERSIDE, et al.                                     NOTICE OF ASSIGNMENT
                                       Defendant(s).             OF PANEL MEDIATOR


Richard T. Copeland is assigned to serve as the Panel Mediator in this case, pursuant to:
           X   Stipulation of the parties.               Assignment by ADR Program staff.
Mediation must be completed as ordered by the assigned judge. If no date is set by the assigned
judge, mediation must be completed at least forty-five days prior to the final pretrial conference,
consistent with Local Rule 16-15.2.
Counsel: You must familiarize yourself with General Order No. 11-10 ("GO 11-10"), which
governs the ADR Program. Each party must appear at the mediation in person or by a
representative with final authority to settle the case and must be represented at the mediation by
the attorney expected to try the case. GO 11-10, §§ 8.5, 8.6. If the mediator requires written
mediation statements (GO 11-10, § 8.4), send them directly to the mediator − DO NOT file
written mediation statements with the Court. Note that neither the mediator nor ADR Program
staff may extend the mediation deadline; “[a]ny continuance of the mediation beyond the
completion date ordered by the judge or set by local rule must be approved by the assigned
judge.” GO 11-10, §8.3.
Mediators: Within 30 days of the date of this Notice, you must communicate with counsel to set
the date, time, and place of the mediation. GO 11-10, §8.1. As soon as the mediation date has
been set, you must electronically file a completed Notice of Mediation Date (Form ADR-13).
GO 11-10, §§ 8.1, 8.2. After the mediation, you must (1) electronically FILE a completed
Mediation Report (Form ADR-03) and (2) return by email to ADR Program staff (DO NOT
FILE) the Mediation Confidentiality Agreement (Form ADR-17). GO 11-10, §§ 8.8, 8.9. If the
parties do not cooperate in scheduling a mediation, or if a mediation becomes unnecessary
because the case settles before the session occurs, you must file a completed Mediation Report
(Form ADR-03) to report that information. GO 11-10, §8.9.
GO 11-10, all ADR forms, and procedures for reserving courthouse facilities for mediations are
 available on the ADR page of the Court’s website at www.cacd.uscourts.gov/attorneys/adr.



Dated: January 2, 2024                              By: /s/ ADR Department



                  ADR−11(09/21) NOTICE OF ASSIGNMENT OF PANEL MEDIATOR
